          Case
           Case2:16-cr-00083-JCM-NJK
                 2:16-cr-00083-JCM-NJK Document
                                       Document97  Filed03/08/17
                                                96 Filed 03/10/17 Page
                                                                   Page11
                                                                        ofof
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   PATRICK BURNS
     Assistant United States Attorney
     Nevada State Bar #: 11779
 3   Lloyd D. George United States Courthouse
     501 Las Vegas Boulevard South, Suite 1100
 4   Las Vegas, Nevada 89101
     (702) 388-6336/Fax: (702) 388- 6418
 5
     Attorney for the United States of America
 6
                                UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA
 8                                          -OOO-
      UNITED STATES OF AMERICA,
 9
                                    Plaintiff,
                                                          CASE NO: 2:16-CR-00083-JCM-NJK
10       vs.
11    TANIKA ARMSTRONG,                                   STIPULATION TO CONTINUE
           a/k/a “Tanika Montgomery,”                     SENTENCING HEARING
12                                                        [SECOND REQUEST]

13                                  Defendant.

14             It is hereby stipulated and agreed, by and between Daniel G. Bogden, United States
15   Attorney, through Patrick Burns, Assistant United States Attorney, and Josh Tomsheck, Esq.,

16   counsel for defendant Tanika Armstrong, that sentencing in the above-captioned matter, previously

     scheduled for April 3, 2017, at 10:00 a.m., be vacated and continued until a time convenient to the
17
     Court.
18
               This Stipulation is entered into for the following reasons:
19
               1.     Counsel for the Government is scheduled to be out of the jurisdiction for a training
20
     the entire week of April 3, 2017.
21             2.     Armstrong’s co-defendant Willie James Montgomery is currently scheduled for

22   sentencing on April 10, 2017. Assuming it is convenient for the Court, continuing Defendant

23   Armstrong’s sentencing to the same day would save the Court resources. A consolidated hearing

     would avoid the Court having to twice examine the underlying facts of this case prior to a
24
          Case
           Case2:16-cr-00083-JCM-NJK
                 2:16-cr-00083-JCM-NJK Document
                                       Document97  Filed03/08/17
                                                96 Filed 03/10/17 Page
                                                                   Page22
                                                                        ofof
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 1
     sentencing hearing, and instead dispose of both defendants’ sentencing hearings on the same day.
 2   Thus, consolidating the two hearings would save the Court judicial time and resources.
 3           3.      Defendant Armstrong does not oppose this request.

 4           4.      Denial of this request could result in a miscarriage of justice, taking into account

     the exercise of due diligence.
 5
             5.      This is the second request for a continuance of Defendant Armstrong’s sentencing
 6
     filed in this matter.
 7

 8
     Dated this 8 day of March, 2017
 9                                                         DANIEL G. BOGDEN
                                                           United States Attorney
10

11          /s/                                                  /s/
     By: _______________________                           By:____________________
12       JOSH TOMSHECK, Esq.                                 PATRICK BURNS
         Counsel for Defendant ARMSTRONG                     Assistant United States Attorney
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           Case2:16-cr-00083-JCM-NJK
                 2:16-cr-00083-JCM-NJK Document
                                       Document97  Filed03/08/17
                                                96 Filed 03/10/17 Page
                                                                   Page33
                                                                        ofof
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 1                             UNITED STATES DISTRICT COURT
 2
                                    DISTRICT OF NEVADA
                                           -OOO-
 3    UNITED STATES OF AMERICA,

 4                                 Plaintiff,
                                                         CASE NO: 2:16-CR-00083-JCM-NJK
 5       vs.

      TANIKA ARMSTRONG,
 6         a/k/a “Tanika Montgomery,”
                                                             FINDINGS OF FACT AND ORDER
 7
                                   Defendant.
 8

 9             Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
10   finds that:

11             1.     Counsel for the Government is scheduled to be out of the jurisdiction for a training

12   the entire week of April 3, 2017.

               2.     Armstrong’s co-defendant Willie James Montgomery is currently scheduled for
13
     sentencing on April 10, 2017. Assuming it is convenient for the Court, continuing Defendant
14
     Armstrong’s sentencing to the same day would save the Court the resources. A consolidated
15
     hearing would avoid the Court having to twice examine the underlying facts of this case prior to a
16   sentencing hearing, and instead dispose of both defendants’ sentencing hearings on the same day.
17   Thus, consolidating the two hearings would save the Court judicial time and resources.

18             3.     Defendant Armstrong does not oppose this request.

               4.     Denial of this request could result in a miscarriage of justice, taking into account
19
     the exercise of due diligence.
20
               5.     This is the second request for a continuance of Defendant Armstrong’s sentencing
21
     filed in this matter.
22
               For all of the above-stated reasons, the ends of justice would be served best by a
23                                                 3

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         Case
          Case2:16-cr-00083-JCM-NJK
                2:16-cr-00083-JCM-NJK Document
                                      Document97  Filed03/08/17
                                               96 Filed 03/10/17 Page
                                                                  Page44
                                                                       ofof
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 1
     continuance of the sentencing hearing date.
 2                                                 ORDER
 3          IT IS FURTHER ORDERED that the sentencing hearing in United States v. Tanika

 4   Armstrong, 2:16-CR-00083-JCM-NJK, previously scheduled for April 3, 2017, at 10:00 a.m. is

     vacated and continued until Monday, April 10, 2017 at 11:00 a.m.
 5

 6
                                                             March
                                                       Dated this    10, 2017.
                                                                  ___day of March, 2017
 7

 8
                                                       By:_ _______________________
 9                                                         Judge James C. Mahan
                                                           United States District Court Judge
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          Case2:16-cr-00083-JCM-NJK
                2:16-cr-00083-JCM-NJK Document
                                      Document97  Filed03/08/17
                                               96 Filed 03/10/17 Page
                                                                  Page55
                                                                       ofof
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 1
                                           Certificate of Service
 2            I, Veronica Criste, hereby certify that I am an employee of the United States Department
 3   of Justice, and that on this day I served a copy of the following: STIPULATION TO CONTINUE

 4   SENTENCING HEARING, upon counsel for all defendants appearing in this matter via the

     CM/ECF system, by electronically filing said document.
 5

 6   Dated:     March , 2017
 7
                            /s/ Veronica Criste
 8                          Legal Assistant to PATRICK BURNS
                            Assistant United States Attorney
 9                          District of Nevada

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